Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 1 of 7 PageID #:
                                     858
Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 2 of 7 PageID #:
                                     859
Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 3 of 7 PageID #:
                                     860
Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 4 of 7 PageID #:
                                     861
Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 5 of 7 PageID #:
                                     862
Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 6 of 7 PageID #:
                                     863
Case: 4:04-cr-00572-JCH   Doc. #: 357 Filed: 02/10/06   Page: 7 of 7 PageID #:
                                     864
